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Office of the New York State                                                       Letitia James
Attorney General                                                                Attorney General


                                                    June 10, 2025

Catherine O’Hagan Wolfe
Clerk of Court
U.S. Court of Appeals for
 the Second Circuit
40 Foley Square
New York, NY 10007

             Re:    National Shooting Sports Foundation, Inc. v. James,
                    No. 22-1374


Dear Ms. Wolfe:

       I write pursuant to Federal Rule of Appellate Procedure 28(j) in response to
plaintiffs’ letter regarding the U.S. Supreme Court’s decision in Smith & Wesson
Brands, Inc. v. Estados Unidos Mexicanos, No. 23-1141 (June 5, 2025). Plaintiffs are
wrong to argue that the decision supports their arguments for reversal.

       First, plaintiffs’ quotations from Smith & Wesson’s background description of
the Protection of Lawful Commerce in Arms Act (PLCAA) obscure that the Supreme
Court decided nothing about the scope of PLCAA or its predicate exception. Instead,
the Court merely concluded that Mexico failed to plead the predicate violation at issue
in that case – aiding and abetting third parties’ misuse of weapons in violation of
federal law. See Op. at 7, 14. The court accepted the proposition that a properly
pleaded aiding-and-abetting violation could be an appropriate predicate violation (see
id. at 2-3), and expressly declined to reach petitioners’ separate argument that
PLCAA imposed a uniquely narrow proximate causation standard (id. at 7).

      Second, Smith & Wesson underscores that the application of PLCAA (including
application of its exceptions) is properly litigated in the context of specific actions
containing actual allegations against which the court can apply the governing legal
standards. Indeed, Smith & Wesson demonstrates that a defendant who believes a
particular lawsuit is an improper invocation of the predicate exception can obtain


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appropriate relief in the specific case. Plaintiffs’ attempt in this case to secure an
advisory opinion about the application of the predicate exception through a
blunderbuss facial challenge to General Business Law § 898-a et. seq. is improper.


                                              Respectfully submitted,
                                              /s/ Ester Murdukhayeva
                                              Ester Murdukhayeva
                                              Deputy Solicitor General




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